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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   JEFFREY STANIELS, Bar #91413
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MANUEL GAUNA
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,    )
                                  )        2:07-cr-0248-19 WBS
11                 Plaintiff,     )
                                  )        REQUEST FOR PRETRIAL CONFERENCE
12        v.                      )        RE: STATUS OF COUNSEL; PROPOSED
                                  )        ORDER
13   MANUEL GAUNA,                )
                                  )        Date:      May 26, 2009
14                 Defendant.     )        Time:      8:30 a.m.
                                  )        Judge:     Hon. William B. Shubb
15   ____________________________ )
16
         MANUEL GAUNA, by his current attorneys, the Office of the
17
     Federal Defender, and Assistant Federal Defender Jeffrey L.
18
     Staniels, hereby requests that a pretrial conference be held on
19
     May 26, 2009 at 8:30 a.m., at the conclusion of the court’s
20
     regular calendar, to consider Mr. Gauna’s request that present
21
     counsel be relieved and that new counsel be appointed.
22
         The court is advised that Mr. Gauna has recently declined to
23
     meet with current counsel.       By telephone he has said he is
24
     preparing something in writing pertinent to his request for new
25
     appointed counsel.     In the event such a communication is made
26
     directly to the court, it is requested that the court not file
27
     the submission in the public file until the status of
28
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 1   representation for Mr. Gauna is resolved and counsel then has an
 2   opportunity to review the material and request that any filing be
 3   under seal, if appropriate.
 4   Dated: May 20, 2009
 5
 6                                           /S/ Jeffrey L. Staniels
                                           JEFFREY STANIELS
 7                                         Assistant Federal Defender
                                           Attorney for Defendant
 8                                         MANUEL GAUNA
 9
10                                    O R D E R
11       The request for a pre-trial conference regarding the status
12   of counsel for defendant Manual Gauna is GRANTED.
13       The clerk is directed to set this matter as the last matter
14   on this court’s 8:30 calendar for May 26, 2009.             The U.S. Marshal
15   is notified that Mr. Gauna’s presence in court is required at
16   that time.
17       IT IS SO ORDERED.
18                              By the court,
19
20   Dated:   May 20, 2009
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